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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

_________________________________
IN RE MEDTRONIC, INC.             )               Lead Case No. 14-cv-03540 (SRN/JJK)
DERIVATIVE LITIGATION             )
                                  )
This Document Relates to:         )
                                  )
      ALL ACTIONS                 )
_________________________________)


                    ORDER GRANTING STIPULATION FOR
               DISMISSAL OF THE ACTION WITHOUT PREJUDICE


      Based upon the Stipulation for Dismissal of the Action Without Prejudice [Docket

No. 48], and having found good cause to grant it, the Court orders as follows:

      1.       This action shall be dismissed without prejudice; and

      2.       Each party shall bear its own costs, expenses, and attorney’s fees.



IT IS SO ORDERED.

Dated: January 7, 2015                            BY THE COURT:

                                                  s/Susan Richard Nelson
                                                  SUSAN RICHARD NELSON
                                                  United States District Judge
